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 5
     Attorney for Defendant
     JESUS NUNEZ-MEZA
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                    )       No. CR-S-15-102 GEB
                                                  )
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                                                  )
            Plaintiff,                            )       MEMORANDUM TO
11
                                                  )       CONTINUE JUDGMENT AND
     v.                                           )       SENTENCING
12
                                                  )
     JESUS NUNEZ-MEZA,                            )       Date: December 1, 2017
13
                                                  )       Time: 9:00 a.m.
                                                  )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendant.                            )
                                                  )
15
                                                  )
                                                  )
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17
            Judgment and sentencing in this matter is presently set for November 17, 2017. Counsel
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     for defendant Jesus Nunez-Meza has had a family emergency and requests the date for judgment
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     and sentencing be moved to December 1, 2017 at 9:00 a.m. Assistant U.S. Attorney Amanda
20
     Beck and U.S. Probation Officer Erica Tatum have been advised of this request and have no
21
     objection.
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23                                                                 Respectfully submitted,
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25
     Dated: November 15, 2017                                      /s/ John R. Manning
26                                                                 JOHN R. MANNING
27
                                                                   Attorney for Defendant
                                                                   Jesus Nunez-Meza
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     Dated: November 15, 2017                 Phillip A. Talbert
 1
                                                      United States Attorney
 2
                                                     by: /s/ Amanda Beck
 3                                                   AMANDA BECK
                                                     Assistant U.S. Attorney
 4
                                       ORDER
 5

 6   IT IS SO FOUND AND ORDERED.
 7   Dated: November 16, 2017

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           cc: Erica Tatum, USPO
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